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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE
                                    filed electronically

     SHEILA ROBEY, AS NEXT FRIEND                )
     OF THE ESTATE OF HELEN ROBEY,               )
     DECEASED                                    )
                                                 )
                   PLAINTIFF                     )
                                                 )
     v.                                          )
                                                 )
     THE EVANGELICAL LUTHERAN                    )
     GOOD SAMARITAN SOCIETY, INC.,               )
     d/b/a GOOD SAMARITAN SOCIETY-               )
     JEFFERSONTOWN                                                  3:17CV-00438-JHM
                                                 ) CIVIL ACTION NO. ______________
                                                 )
     CLAUDE MAPP, IN HIS CAPACITY                )
     AS ADMINISTRATOR OF GOOD                    )
     SAMARITAN SOCIETY –                         )
     JEFFERSONTOWN                               )
                                                 )
     AND JOHN DOES 1 THROUGH 3,                  )
     UNKNOWN DEFENDANTS                          )
                                                 )
                   DEFENDANTS                    )




                                   NOTICE OF REMOVAL

            Defendant, The Evangelical Lutheran Good Samaritan Society, Inc., d/b/a Good

     Samaritan Society- Jeffersontown (hereinafter “Good Samaritan”), gives notice of

     removal of the civil action captioned Sheila Robey, as Next Friend of the Estate of Helen

     Robey, Deceased v. The Evangelical Lutheran Good Samaritan Society, Inc., d/b/a Good

     Samaritan Society-Jeffersontown, Claude Mapp, in his capacity as Administrator of

     Good Samaritan Society-Jeffersontown, and John Does 1 through 3, Case No. 17-CI-

     003434, Div. 5, from the Circuit Court of Jefferson County, Kentucky to the United
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     States District Court for the Western District of Kentucky, at Louisville. This Notice of

     Removal is filed pursuant to 28 U.S.C. §§ 1332, 1441 and 1446. Good Samaritan states

     the following grounds for the removal:

            1.      Plaintiff commenced this action by a Complaint, filed June 30, 2017 in the

     Circuit Court of Jefferson County, Kentucky.

            2.      Good Samaritan was served with a copy of the Complaint and Summons

     on July 6, 2017. To the best of Good Samaritan’s knowledge, no Defendant in this action

     has been properly served.      Claude Mapp is no longer the Administrator at Good

     Samaritan, nor is Mr. Mapp employed by Good Samaritan. Mr. Mapp is no longer a

     resident of Kentucky, as it is Good Samaritan’s understanding that Mr. Mapp moved

     away from Kentucky to accept other employment. An Affidavit for Mr. Mapp is hereby

     affixed as Exhibit “A”.

            3.      Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings and

     orders served on or otherwise received by Good Samaritan are attached hereto as Exhibit

     “B.”

            4.      This Notice of Removal is timely under 28 U.S.C. § 1446(b), which

     provides that the notice of removal of a civil action “shall be filed within thirty (30) days

     after receipt by the Defendant through service or otherwise, of a copy of the initial

     pleading.”

            5.      This is a civil action over which this Court has original jurisdiction under

     28 U.S.C. § 1332 and which may be removed under 28 U.S.C. §§ 1441 and 1446,

     because the parties are citizens of different states and the amount in controversy exceeds

     the sum of $75,000 in the aggregate, exclusive of interest and costs.




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               6.    The named Plaintiff is a resident citizen of the State of Kentucky, he is

     operating in his capacity as Next Friend of the estate of Helen Robey.

               7.    Good Samaritan is a corporation organized under the laws of North

     Dakota, with its corporate office located in Sioux Falls, South Dakota. Claude Mapp is a

     former Administrator at Good Samaritan, but no longer works for Good Samaritan, and

     is, at the time of the filing of this action, a resident of Tennessee. Thus, there is complete

     diversity between the parties.

               8.    Plaintiff, in her Complaint, alleges damages “exceeding that required for

     federal court jurisdiction in diversity of citizenship cases.” Complaint at ¶¶ 28, 34, 42,

     56, 60.

               9.    By filing this Notice of Removal, Good Samaritan does not waive, either

     expressly or impliedly, its respective rights to assert any defense that could have been

     asserted in the Circuit Court of Jefferson County, Kentucky.

               10.   Undersigned counsel will promptly give notice of the filing of this Notice

     of Removal to all parties and will also file a copy of this Notice of Removal with the

     Clerk of the Jefferson Circuit Court as required by 28 U.S.C. § 1446(d).




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              WHEREFORE, this Court has jurisdiction pursuant to 28 U.S.C. § 1332, and

     removal is appropriate pursuant to 28 U.S.C. §§ 1441 and 1446.

                                                  Respectfully submitted,



                                                  /s/ Christopher A. Melton
                                                  Christopher A. Melton
                                                  Donald J. Kelly
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                                                  Counsel for Good Samaritan Society




                                 CERTIFICATE OF SERVICE

                     This is to certify that a true and correct copy of the foregoing has been
     filed through the ECF system and served upon the following, by mail and notice of
     electronic filing, on this the 21st day of July, 2017:

     Kevin Hackworth
     WILKES & McHUGH, P.A.
     429 North Broadway
     PO Box 1747
     Lexington, KY 40588-1747
     Counsel for the Plaintiff


                                                 /s/ Christopher A. Melton
                                                 Christopher A. Melton

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